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MITCHELL
other officers?

A. With him not being controlled
and primarily having one cuff on, there is
a danger that is discussed all the time
that with one -- a person with one cuff on,
that could be a weapon. He's, he's, he's
actively moving away from us. So I
don't -- there's, there's a -- there is a
level of danger. He's not under control.

He's not searched and he's actively pulling

“away while we're trying to handcuff him.

So that is the threat.
Q. Okay.
The question is what level of
threat did that present?

MR. CAMPOLIETO: Objection.

A. Are you -- what level -- I
don't -- the level on the matrix or what do
you -- I don't know what level you mean,
sir.

QO. sure.

At that point did you consider
David to be posing a serious threat to you

and the other officers?

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MITCHELL

MR. CAMPOLIETO: Objection.

A. A person that is trying -- that
we are attempting to handcuff that is not
handcuffed and is not searched is a threat,
yes.

Q. Okay.

A threat of potential physical
injury to you and the other officers? Is
that what you mean?

A. Yes. It, it's a dangerous job
and he has not been searched and we don't
have the ability to see -- if he's not
searched, handcuffed and in control, we
don't know what he could have on him. So,
yes, it is a threat. When he's being
handcuffed and he's actively taking his
hand away from us, that is a threat.

MR. SHIELDS: All right. Let

me just -- John, do you need to take
a break or anything?
MR. CAMPOLIETO: No. I'm good.
MR. SHIELDS: Okay. All right.
Is there anybody else in the room

with you guys?

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MITCHELL
MR. CAMPOLIETO: With us?
MR. SHIELDS: Yeah.
MR. CAMPOLIETO: No.
MR. SHIELDS: All right. Just
checking. All right.

BY MR. SHIELDS

Q. . so after this point in the
video -- well, let's just go ahead and --
well, let me just ask you. After this

point in the video is when Officer Kester
fell on his back onto the ground, correct?
A. Yes.

Q. Okay.

And Mr. Vann was taken to the
ground and fell on top of Officer Kester,
correct?

A. Yeah. Myself, him, we all
three of us went to the ground.

Q. So you and Vann and Kester all
went to the ground and Vann and you landed
on top of Officer Kester, correct?

A. I don't -- I don't recall if I
landed right on top of Officer Kester. I

don't know.

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MITCHELL

Q. Okay.

You landed on top of Mr. Vann?

A. I was on Mr. Vann, yes.

Q. Did Drake also go to the
ground, or no?

A. I don't recall.

Q. Okay.

And the reason that you fell on
top of Mr. Vann is because you were holding
onto his arms and his handcuffs?

A... I was attempting to gain
control, yes. So I was holding onto his
arm, yes.

Q. Okay. All right.

So we're paused here at
11:40:33. I want to hit "Play" and I'm
going to play for the next few seconds
until about 11:40:45. So I'm going to go
ahead and hit "Play."

(Whereupon, the video was

played.)
Q. Okay. So this is where we had
seen everyone tumble to the ground. And.

can you tell me in this picture, you see

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MITCHELL
one officer that appears to be standing.
Is that Officer Drake?
A. Yes, it is.
Q. Okay.
And then you'd be behind
Officer Drake, sort of?
A. Yes.
Q. Okay.
And then on the left side, you
see Officer Kester; is that right?
A. I honestly can't tell who that
is.
Q. Okay.
And then you see some black

things over here to the right side of

Officer Drake. Is that --
A. Yes.
QO. Those are David's feet or are

those your feet; can you tell?
A. I can't tell.
QO. Okay.
And So y'all fall to the ground
and it's at this point that Officer Kester

tells you that his leg is hurt?

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MITCHELL
A. He just starts screaming, so,
in pain.
Q. Okay. All right.
I'm going to fast- -- well, I'm
not going to fast-forward. I'm going to

hit "Play" and I'm going to pause it at
about 11:41:09.
(Whereupon, the video was
played.)
QO. Okay. Well, I'm going to pause
it here first at 11:40:52.

And it looks like Drake moved
to the side a little bit. Can you.see
yourself holding Mr. Vann down? Is that
what you can see in the video there?

A. I see myself to the side of
him, yes.
Q. Okay.

And you've got, like, one arm
holding down on his back area. Is that
what that is?

A. I, I can't see from this.
QO. Okay.

Can you tell if Mr. Vann is

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MITCHELL
Laying face down on the ground there?
A. He appears to be.
QO. Okay.

So he's face down and you're
kind of to the side and it looks like maybe
holding his body down to the ground at that
point?

A. It's hard to tell paused. I
really can't --

Q. Okay.

A. I can see that he's laying
down, but I just can't see beyond that.

Q. Okay. All right.

I'm going to hit "Play" again
and then I'm going to go forward and pause
again at about i1 -- what did I say --
40:45. Is that what I said? I meant
11:41:09. Right now we're paused at
11:40:52. Okay.

(Whereupon, the video was

played.)
Q. All right. I'm Just going to
pause at 11:41:05 first.

Did you see yourself kind of

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(1) MITCHELL
(2) like putting your arms or your hands around
(3) his, like, waist and leg area? Were you
(4) able to see that?
(5) A. No.
(6) Q. No? Okay.
(7) And you're testimony before was
(8) that you were unable to conduct any kind of
(9) search of the back waistband area at this
(10) point?
(11) A. We had just went to the ground.
(12) I had Kester screaming as well as you can
(13) see there's three people behind me. So I
(14) don't -- I'm trying to gather surroundings,
(15) “everything like that. So I had not
(16) searched him at this point.
(17) Q. Okay.
(18) And you were unable to tell
(19) whether his back waist area, which was, if
(20) he's laying on his stomach would have been
(21) exposed to you at that point, right?
(22) A. It would not have been exposed.
(23) He had a jacket on.
(24) Q. Okay.
(25) So you were unable to even just

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MITCHELL
run your hand across his waistband to see

if there was anything there?

MR. CAMPOLIETO: Objection.
A. I did not, no. I did not run
my hand across his waistband. At this

point he was not searched.
QO. Okay. All right.
Even if you don't conduct a
full-blown search, if somebody has got a
gun in their waistband, is that something
that you'd be able to generally detect the
bulge of the gun in their waistband?
A. No. Not if there's a jacket or
clothing covering it, no.
Q. Okay. All right.
So I'm going to hit "Play" and
then I'm going to pause. Actually, I'm
going to slow it down to about 50 percent

again and then I'm going to hit "Play" and

I'm going to hit "Pause" at about 11:41:09.

Okay? So we're paused --
A. Okay.
Q. ~~ at 11:41:05 and I'm going to

hit "Play™ now.

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MITCHELL

(Whereupon, the video was

played.)

Q. Okay. So I'm going to hit
"Pause" here at 11:41:08.

So were you able to see
yourself employ the strike that we spoke
about earlier?

A. What I did see during that was
Mr. Vann reach for his waistband while on
the ground and not searched yet. And then,
yes, there was a distractionary jab
applied, correct.

Q. Okay.

So you were able to see
Mr. Vann reach for his waistband, correct?

A. Yes, I was.

Q. And then in response you
applied a distractionary jab which we
agreed earlier was just a punch to the back
of his shoulder area?-

A. We agree that it was a Jab,
distractionary jab to his shoulder area.

Q. Okay. All right.

And was that a proportional

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MITCHELL
response to somebody that was handcuffed?

A. I had not searched him yet. He
reached for an area where people -- I
believed at this point in time he had a
weapon on him. I did not search him yet.
According to my training and time on the
road. That is where people do keep weapons
and I did deploy a distractionary jab and
tell him to stop reaching for his waistband
at that time.

Q. Okay.

So the only reason that you
punched him is because he allegedly reached
for his waistband, correct?

MR. CAMPOLIETO: Objection.

A. The reason I applied a
distractionary jab was because he did reach
for his waistband.

Q. So if he hadn't reached for his
waistband, then you wouldn't have applied a
punch or a distractionary jab at this
point?

A. That is correct. I would not

have.

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MITCHELL
Q. And that was the very first
time throughout your entire interaction
that Mr. Vann had allegedly reached for his
Waistband, correct?

A. That was the first time he did,

Q. Okay. Okay... One second. All
right.
So I'm going to hit "Play," go

back to regular speed and pause at about

11:41:30. Okay. So we're paused at

11:41:08 and I'm going to hit "Play."
MR. CAMPOLIETO: Elliot, did
somebody else join the -- I just

noticed there's somebody else in

here.

MR. SHIELDS: I don't know, but
so -- it says, "Christopher's
iPhone," so I'm assuming that is my

expert, Chris Magnus who informed me
that he might be joining at some
point. So we can add for the record
that the plaintiff's force expert and

minel (phonetic) expert Chris Magnus

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MITCHELL

logged into the Zoom video as well.

Q. Okay. I was just about to hit
"Play." We're paused at 11:41:12 and --
MR. CAMPOLIETO: He's on
watching. Not that it makes a
difference.
Q. All right.

So we were paused at 11:41:12
and I was about to hit "Play" and play the
video to 11:41:30. Okay? And I'm hitting
"Play" now.

(Whereupon, the video was

played.)

Q. All right. It looked like --
so I paused right now at 11:41:17. It
looked like you kind of like leaned in and
Said something to Mr. Vann. Do you
remember what you said to him?

A. "Stop reaching for your
waistband" or "Don't reach for your
waistband." Something along those lines.

QO. Okay.

Is that the only thing that you

Said to him right there?

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MITCHELL
A. - That's what I said to him, yes.
Okay. All right.
I'm going to go ahead and hit
plan again from 11:41:17.
(Whereupon, the video was
played.)

Q. Okay. So I said I was going to
pause at 11:41:30 but I paused at 11:41:33.

So at this point you had
grabbed Mr. Vann's arms or handcuffed area
and brought him up to a standing position?

A. I brought him -- yes.

Q. Okay.

And at. that point he was Fully
handcuffed behind his back, correct?

A. He had -- the cuffs had not
been double-locked but the -- that -- the
cuff that I described earlier as not being
on properly had been adjusted to be put on
properly but was not double-locked yet.

Q. So at this point right now when
you're standing him up he was fully
properly handcuffed just not double-locked.

Is that what you're saying?

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MITCHELL
A. Correct.
Q. Okay. All right.

So now you're about to walk him
over to the back quarter panel of the car,
correct?

A. Yes.
QO. All right.

So I am going to go ahead and
hit "Play" and then I'm going to pause it
when you get over to the car. And it's
going to switch videos back to Camera 4.
All right. I'm going to go ahead and hit
"Play" here at 11:41:33.

(Whereupon, the video was

played.)

MR. SHIELDS: It will switch in
a second. This was the compilation
made by the D.A., not me. So I

wouldn't have left this all here,
but...
MR. CAMPOLIETO: Showing an
officer on the ground injured.
THE WITNESS: Yeah.

MR. SHIELDS: There we go. All

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MITCHELL
right. So just for the record after
it was focused on the Camera 3 angle
for a while, then it switched back to
the Camera 4 angle and it went back
to the timestamp at about 11:41 and
36 seconds.

Q. And so that's -- at this angle,
Officer Mitchell, that shows you escorting
Mr. Vann over towards your police vehicle;
is that right?

A. That's correct.

QO. . And the vehicle that we see in
the foreground of the screen right behind
the trash can, that's your vehicle,
correct?

A. Yes, it is.

Q. All right.

So I'm going to go ahead and
hit "Play" now in this camera angle at
Camera 4 at 11:41:36.

(Whereupon, the video was

played.)

Q.. Okay. So now I paused at

11:41:41.

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MITCHELL

And so can you describe to us
what happened between 11:41:36 and
11:41:41.

A. We were walking to the car. He
had been handcuffed. I would have liked to
have double-locked and conducted a search.
When we got to the car, you can see that
his body weight pushes off of the car and
then when we move to this part where it's
paused, he's walk -- he's now moving
backwards away from me.

Q. Okay.

So your testimony is that what
the video showed was Mr. Vann bumping off
the car -- that's what you described as
bumping off the car earlier?

A. Yeah, when he bumps the car and
moves to the left. He doesn't stay where I
can conduct that search.

Q. Okay.

So what you're saying is that
you were forced to grab him here around the
neck because of Mr. Vann's actions. That's

what you're saying?

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MITCHELL

A. I'm not grabbing him around the
neck, but because of Mr. Vann's actions, I
am, at this point, attempting to perform a
hooking technique.

Q. Okay.

So I want to just rewind that
part again and maybe play it in slo-mo so
that we can get a better understanding of
what happenéd together. so I'm going to
hit rewind. I’m going to pause it right
here at 11:41 and 38 seconds.

So at this point you hadn't ~~
Mr. Vann's body hadn't made came into
contact with the car yet, right?

A. At this point, no.

Q. So I slowed it down to half
speed and let's take a look at what happens
right here when his body goes up against
the car. Okay? All right. So I am
hitting "Play" at 11:41:38 at half speed.

(Whereupon, the video was
played.)

Q. Okay. So right there at

11:41:40, what do we see? We see

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MITCHELL
Mr. Vann ~-- you put Mr. Vann against the
car and then it looks like you both take a
step back right there?

MR. CAMPOLIETO: Objection.

A. No. I put Mr. Vann against the
car and he moves off the car and to the
left which forces me to then have to follow
him, because at that point he is in custody
and not searched.

Q. Okay.

So is that the moment right
there when you describe Mr. Vann bumping
off the car?

A. He uses his body weight to move
off the car and to the left. So bumping or
moving body weight, yes.

Q. Okay. Yeah. I was just trying
to be on the same page.

A. Yeah. No. That's the -- yeah,
that's the spot in the video, yes.

Q. Okay. All right. I'm sorry.
Okay. 1 Meant to hit -~ I meant to say I
was hitting "Play" before I hit "Play"

right there, but we're at 11:41:40. I'm

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MITCHELL
going to go ahead and hit "Play" again.
We're still at half speed.
(Whereupon, the video was
played.)
Q. Okay. All right. So I hit
"Pause™ here at 11:41:41.

And my question is, it looks
like your body went over to the left and
then you're grabbing his sweatshirt; is
that right?

A. My body went to the left where
Mr. Vann went originally and as you can see
here stopped Mr. Vann's body weight
including his leg placement is moving away
from me. So I am attempting to regain
control him of him.

Q. Okay.

Were you saying anything to
Mr. Vann throughout this interaction?

A. At this point, I don't recall
what I said.
Q. Okay.
You didn't say, like, "Stop

T

pushing away,” for example?

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MITCHELL
MR. CAMPOLIETO: Objection. Go
ahead.
A. I'm not at the hooking -- I'm
attempting to do a hooking technique. He's
-not -- he's moving away from me at this
point. So I have not said anything yet.

QO. Okay.

And at this point you felt like

-a hooking technique was a proportional

application of force?

MR. CAMPOLIETO: Objection.

A. At this point I made the
determination to use a hooking technique.
He actively pulled away from me. Iostill
did not have control of him and I stiil had
not searched him yet.

Q. Okay.

So the answer to my question is
yes, you had determined at this point that
an application of a hooking technique was a
proportional response?

MR. CAMPOLIETO: Objection.

A. I made the determination that a

hooking technique was the safest for myself

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MITCHELL
at this time.
Q. Okay.
Now, my question -- I just want
you to answer my question, please -- is,

you had made the determination that
application of a hooking technique was a
proportional response; yes or no?

MR. CAMPOLIETO: Objection.

A. Yes.

QO. And you had made the
determination, yes or no, that application
of a hooking technique was an appropriate
response?

A. Yes.

Q. And application of a hooking
technique in this circumstance was proper
pursuant to your RPD policy and training;
yes or no?

A. . Yes.

Q. Okay. All right.

So we're paused at 11:41:41 and
I'm going to hit "Play" and pause again in
a few seconds here. Okay? And we're still

at half speed.

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MITCHELL

(Whereupon, the video was

played.)

Q. Okay. So I paused at 11:41:45.

And my first question is, at
the beginning of the clip. that we just
played between 11:41:41 and 11:41:45 is the
beginning of the clip there where it shows
where you tried to do the hooking technique
to take him to the ground but you were
unsuccessful?

A. Correct.

Q. Okay.

And then you turn Mr. Vann
around and you applied what you described
earlier as a distractionary jab?

A. Mr. Vann turned around and was
still moving away from me and then apployed
(sic) or deployed a distractionary jab,
yes.

Q. Okay.

And is that the distractionary
jab that you demonstrated for us on the

video earlier?

A. Yes.

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MITCHELL
Q. .OKay.

And so your testimony is that
the distractionary jab that you
demonstrated for us earlier was the same
technique that you can see being deployed
in the video here right before we paused at
11:41:45?

A. The jab here is me standing
with nobody here. That is moving. So I --
it's hard to replicate that. Is it the
same movement and technique? Yes. rt
doesn't look the same but, yes, it is the
same technique.

Q. Okay.

And, you know, talking about --
what I'm, what I'm trying to say is there's
different types of punches that you're
taught in defensive tactics, right?

A. Yes.

QO. One of them is a distractionary
jab, correct?

A. Yes.

Q. And that would be basically a

straight punch?

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MITCHELL

And is that the distractionary

jab that you described earlier that was

just depicted on the video there?

A. I, I don't recall.

Q. Okay.

Did you see yourself strike

Mr. Vann in between when we were paused at

11:42:07 and where we are paused now at

11:42 --

A. I put, I put my hand in his

back to control him and tell him to stop

moving.

Q. So there was some application

of force by your hand in his back?

A. Yes.

Q. And was that what you described

earlier as a response to Mr. Vann reaching

for his waistband?
A. I don't recall
don't recall what part of
Q. Okay.
So what we saw
11:42:07 and 11:42:08 was

onto his stomach and then

if it's the -- I

the video.

between 11:47 --
you flipped him

you either struck

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MITCHELL
him or put your hand on his back. Is that
what we saw?
A. Yes. I didn't -- that was not

a strike. I put my hand on his back to
control him. I came down on his back and I
had my hand across his, like, shoulder back
area right now. And I'm telling him again
not to move.
Q. Okay.
So you flipped him over onto
his stomach and then you told him not to
move?
A. Yes.
Okay.
At that point, had he been

struggling with you on the ground?

A. He had just struggled with me
for 20 seconds. We haven't searched him
yet. At this point, too, I'm -- at this --

I don't know how long exactly this has been

going on, but I'm, I'm getting tired and

exhausted. It's been going on for quite
some time. So I am telling him to stop
moving. He still has not been searched at

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MITCHELL
this point.

Q. Okay.

And at this point in your
career back in 2015, did you exercise
regularly?

A. Here and there, yeah.

Q. Were there ongoing physical
fitness requirements for the Police
Department?

A. No.

Q. Okay.

What kind of workouts would you
do back in 2015?

A. I ran and lifted weights but I
mean, I was never serious about it, so.

Q. Okay.

Would you workout at a, at a
gym or something else?

A. I, I -- I don't recall. I
mean, in 2015, I don't know what I was
doing. I worked out from time to time
throughout my whole career.

Q. Okay.

And what was --

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MITCHELL
A. I mean, and I'm exhausted here,
so.
Q. Okay.
What's the fastest you ever ran
a mile?

A. The fastest I ever ran a mile?
MR. CAMPOLIETO: If you know.
A. When I was in seventh grade.

It was 5:20.

Q. Pretty impressive.
A. Thank you.
Q. How about after you became a

police officer, what's the fastest that you
ever ran a mile?

A. I don't think I ever ran a mile
again.

Q. Okay.

At the academy when you ran

your mile and a half for your physical
fitness test, do you remember what time you
completed that mile and a half run in?

A. It was something nine, but I
don't remember.

QO. Okay.

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(1) MITCHELL
(2) And what's the maximum amount
(3) that you ever bench pressed?
(4) A. I don't know.
(5) Q. Could you ever do two plates,
(6) put up 225?
(7) A. Yeah.
(8) Q. Okay.
(9) 250?
(10) A. No.
(11) Okay.
(12) So somewhere between 225 and
(13) 250?
(14) A. Correct.
(15) Could you rep out 225 or was
(16) that, like, your max?
(17) A. I could rep it out. This was
(18) before I was a police officer in college.
(19) Q. Okay.
(20) I mean, you don't recall that
(21) strength, right? Like, you, you maintain
(22) some of that strength through your time as
(23) a police officer?
(24) A. Yeah. In my entire officer and
(25) in my time working out, I never had a two

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MITCHELL

to three-minute physical allocation that

went on for this long.
didn't train for two to
allocations like this.
exhausting.
Q. Okay.
Did you ever

defensive tactics or on

So that's -- I
three-minute

So this was

in, like,

your own have any

kind of martial arts training?

A. No.

Q. In defensive
do any kind of sparring
at a time?

A. No.

Q. Interesting.

Do you think
that should be added to

tactics curriculum?

MR. CAMPOLIETO:

A. I, I -- no,

really involved in that anymore,

I don't.

tactics, you don't

for several minutes

that's something

the defensive

Objection.
I'm not

so no.

There are role plays and different things

like that but they don't

-- this is a very

long exhausting altercation.

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MITCHELL
QO. Okay. All right. Okay.
So I'm going to go ahead and
hit "Play" here at 11:42:08 and then I'1l

pause it again ina few seconds at about

11:42:16.
(Whereupon, the video was
played.)
Q. Okay. So I paused it at
11:42:18.

Is what we saw depicted between

11:42:08 and 11:42:18, that's where you

pepper sprayed Mr. Vann?

A. -Where I attempted to, yes.

Q. Okay.

And your testimony earlier is
that that attempted to pepper spray was
ineffective?

A. It was not effective to the
degree it should have been. It was hissing
and it didn't come out, it came out
maybe -- it just didn't come out the way it
was supposed to.

Q. Okay.

So it came out a little bit?

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MITCHELL
A. Yeah. There was some that came
out. He was also moving around, so it was

hard to apply it, so -- but it did not come
out fully. .

Q. Okay.

And can you tell us the

distance that you attempted to deploy the
pepper spray from Mr. Vann's face?

A. I don't know. It was -- I
don't know the exact distance.

Q. Okay.

Was it within 6 inches?

A. No. It was a foot to two feet.
Okay.
Was it -- I mean a foot to
two feet is a big gap. Can you teil me

anything closer than that? Was it closer

to one foot or closer to two feet?

A. I don't know. He's still on
the ground; he's still moving around. I,
I -- it could have varied the whole entire
time.

Q. Okay.

So somewhere between one foot

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MITCHELL
and two feet?
A. Correct.
QO. Okay. All right.

I'm going to go ahead and --
well, my question is, why did you decide to

pepper spray Mr. Vann at this point?

A. At this point there -- the, I
still had to search him. We were still
not -- he was still not searched. We used

other tactics that had not worked and this
was something that I went to.
Q. Okay.

To get him to stop moving
around basically?

A. To stop --

MR. CAMPOLIETO: Objection.

A. To stop moving around and to do
the search.
QO. Okay.

So if you hadn't deployed the
pepper spray, you don't think you would
have been able to effectively search him?

A. Up until this point I had not

been able to search him. So, no.

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MITCHELL
Q. Okay.

And you're taught on how to use
tactics like, what are they called, like a
knee across the back in order to search
him? I forget what that's called.

A. Three-point landing.
QO. Okay.

So you didn't attempt to doa
three-point landing and search him before
you deploying the pepper spray, correct?

A. I hadn't got to a three-point
landing at that point in time.
Q. Okay.

So the answer is no, you did
not attempt to do a three-point landing
prior to pepper spraying Mr. Vann, correct?

A. Correct.

Q. Did you attempt do any other
ground holding techniques to search
Mr. Vann before you deployed the pepper
sprayed?

MR. CAMPOLIETO: Objection.

A. At this point, no.

Okay. All right. I’m going to

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MITCHELL
go ahead and hit "Play" and I'm going to
play it for a little bit until the next
officers show up which I believe is about
11:42:45. So we'lre paused at 11:42:18.
I'm going to go ahead and hit "Play."

(Whereupon, the video was

played.)

Q. Okay. So I'm going to pause
11:42:22,

Is what we saw between 11:42:18
and 11:42:22, is that a three-point
landing?

A. That is a three-point landing,
yes.

Q. All right.

So I'm going to go ahead and
hit "Play" again now at 11:42:22.

(Whereupon, the video was

played.)

QO. Now, as we'tre looking at this
right now, 11:42:25, -26, at this point how
come you're not searching Mr. Vann?

A. At this point I have two

officers that are down injured. I am

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MITCHELL

trying to keep his hand away from his
waistband and I know that I have other
officers coming that will help me with the
search and I am -- it's been a two minute
Physical altercation. So, at this point, I
know back up is coming and I'm waiting and
keeping his hands, the best I can, away
from his waistband and monitoring the other
two officers that are injured.

Q. Okay. So I'm just going ‘to
pause here at 11:42:43.

So other officers aren't here
yet. It looks like you got off of your
three-point landing and it looks like
you're starting to push Mr. Vann's body

over; is that right?

A. Yes.

Q. And why did do you that?

A. He reached for his waistband
and grabbed my -- and -- it felt like he

grabbed my leg. He touched my leg but he
definitely reached for his waistband again.
Q. Okay.

So you got off of him because

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MITCHELL
he allegedly reached for his waistband
again?
A. Yes.

Okay. All right.

So 11:42:43. So I'm going to
hit "Play" again.

(Whereupon, the video was

played.)
Q. Okay. And I'm going to pause
here at 11:42:45.

And so did you see yourself
just strike Mr. Vann in, it looks like, the
side of his body?

A. No.
MR. CAMPOLIETO: Objection.
A. I did not see myself, no.

Okay.

So let's rewind that back and
look at it again. So I want you to pay
attention to your right hand and after you
get off of the three-point landing at about
11:42:43 to -44. So it's paused 11:42:40
and I'm going to go ahead and hit "Play."

(Whereupon, the video was

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MITCHELL
played.)
Q. Okay.
How about that time, did you
see yourself strike Mr. Vann in the chest?
A. I didn't strike him there, no.
Q. So your testimony watching this
video together is that as you're rolling
him over, you don't strike him with your
right hand right there?
A. I did not.
Q. Okay. All right.
But your testimony was that
immediately before that, he had allegedly

reached for his waistband, right?

A. He did reach for his waistband,
yes.
Q. Okay. All right.
So I'm going to go ahead and
hit "Play" again. It's 11:42:45 and I'm

going to hit "Play."
(Whereupon, the video was
played.)
Q. Okay. And so just guickly I'm

going to pause here at 11:42:50.

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MITCHELL

We've got one officer that's
arrived at the scene. TIT think you said
earlier that that's Officer Kephart?

A. Correct.

Q. Okay. All right.

Do you remember saying anything
to Officer Kephart immediately when he
arrived at the scene?

A. I said, he's been reaching for
his waistband.

Q. Okay. So that's what you told
Kephart.

Anything else?

A. That was it.

All right.

I'm going to go ahead and hit
"Play" again.

(Whereupon, the video was

played.)

Q. Did you tell Officer Kephart
about the other officers who had been
injured or go tell him to check on them?

A. I don't recall what I said to

him as to that. I know I yelled out that

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MITCHELL
the waistband -- he had been reaching for
his waistband.
Q. Okay.
(Whereupon, the video was
played.)
Q. And then is that Kephart

walking back again --

A. Yes, it is.

Q -- or is that someone else?
A. That's Kephart.

Q All right.

And then if we pause it right
here, we got 11:43:03. It looks like an
additional car pulls up and that was a

two-man car; is that right?

A. I, I, I can't tell.
QO. Okay.
So I'm just going to rewind. I

just want to make sure we get all the
people right.
(Whereupon, the video was
played.)
Q. Okay.

So you see the car pulling up

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MITCHELL
right here at 11:42:59?

A. Yes.

Q. I'm going to hit "Play," and
will you just tell me if you can recognize
whether it's a two-man car and if you
recognize who the two people that get out
of the car.

A. Yes.

Q. Okay. So I'm going to go ahead
and hit "Play" at 11:42:59.

(Whereupon, the video was
played.)

Q. All right. So real quick I'm
going to pause at 11:43:04.

Do you see that somebody had

exited from the passenger side of the car?

A. Yes.
Q And do you know who that was?
A. Officer Dempsey.
Q Okay.
So was Officer Dempsey -- he

was the officer and it was Brodsky that was
the recruit; is that right?

A. Yes.

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MITCHELL
Q. So Brodsky would have been the
driver?
A. Correct.
Q. All right.
So I'm paused 11:43:04. I'm

going to go ahead and hit "Play" again.
(Whereupon, the video was
played.)
Q. All right.

When Dempsey and Brodsky come
over, do you remember saying anything to
them?

A. I remember saying, "We got to

check his waistband."

QO. Okay.
A. He hadn't been searched at all.
Okay.

So I'm paused at 11:43:10 here
and I had been talking as the video was
playing. Were you able to pay attention to

the video as it was playing and I was

talking?
A. Yes.
Q. So can you describe for us what

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MITCHELL
just happened on the video there?
A. David Vann was moved to his
stomach.
Q. Okay.

So -- and can you tell me which
officer it was that helped to pick him up
and turn him over onto his stomach there.

A. Officer Kephart assisted me.
Q. Okay.

Did Dempsey assist you at all,
too, or was it just you and Kephart?

A. Iocan't tell from that video.
Q. Okay.

So I'm just going to hit rewind
again and let's watch that part together
again. Okay? So I'm paused at 11:43:10.
I'm going to hit "Play" and then I'll
rewind. Okay. So I rewound it to 11:43:05
and I'm going to play that same part again,
but I'm not going to talk. Okay?

(Whereupon, the video was

played.)
Q. Okay.

So does it look like it was you

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MITCHELL
and Kephart and Dempsey?
A. Yes.
Q. Okay.
And then Brodsky had walked up
behind immediately afterwards?
A. Yes.
Q. Okay.
And then I'm going to go ahead
and hit "Play" again at 11:43:10.
(Whereupon, the video was
played.)
Q. All right.
So the video is playing right
now. Can you kind of describe for us
what's going on at this point.

A. At this point, we're going to

attempt -- we're going to start a search of

Mr. Vann.
Q. Okay. And TIT paused the video
at 11:43:17.
Can you tell us who the officer
that just walked into the screen is.
A. Sergeant LaFave.

QO. So that's LaFave at 11:43:17.

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MITCHELL

And do you remember saying
anything to Sergeant LaFave when he
arrived?

A. I don't recall.

Q. Okay. All right.

I'm going.to go ahead and hit
"Play" at 11:43:17.

(Whereupon, the video was

played.)

Q. Okay. And I paused it at
11:43:22.

Does it look like someone just
threw something at, like, Sergeant LaFave's
feet area? Did you see that?

A. Yes.

QO. And so that's part of the
search that had started to be conducted;
you guys were removing stuff from David
Vann's pocket and whatnot?

A. I wasn't conducting the search,

but something was removed and --

QO. Okay.
A. -- tossed. Yeah.
Q. You're still in the video right

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MITCHELL
now, though, right? You're --
A. Yes.
Q. -- the one on the right side

kind of on the ground?

A. Correct.

Q. All right.

And the other officers are

searching him; that's what you're saying?

A. Yes.

Q. Are you still making physical
contact with David at this point?

A. I'm helping to control him,

Q. Okay. All right.
I'm going to go ahead and hit
"Play" at 11:43:20.
(Whereupon, the video was
played.)
Q. Do you remember anything that
you're saying at about this point?
A. I don't recall.
Q. Okay.
And as a result of this search,

you guys didn't find any contrabands or

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MITCHELL
weapon on Mr. Vann's person, correct?

A. Correct.

Q. Okay.

Did you ever ask Mr. Vann why
he kept allegedly reaching for his
waistband?

A. I did not.

Q. Did you ever ask him, for
example, if he ordinarily stores things in
that area?

A. I did not at this point. This
would have been the first opportunity I had
to and I was -- like I said, it had just
been three minutes of -- I was exhausted
and tired at this point.

Q. Okay.

So I paused the video at
11:43:53, but I just wanted to rewind it a
little bit and ask you some question before
we get to this point. So I'm going to hit
"Play" and then rewind it. Okay. So let
me rewind it a little more. All right. So
I rewound it to 11:43:44.

So Mr. Vann is still on the

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MITCHELL
ground at this point, right, and then you
guys are about to pick him up and bring him
over to your car?

A. Correct.

Q. So do you participate in
lifting Mr. Vann up off of the ground and
bringing him over to your car?

A. I have to watch it one more
time.

Q. Okay.

So I'm going to play it and
then I'll pause it when it looks like we
can tell who's escorting him. Okay? So
it's 11:43:44 and I'm Hitting "Play."

(Whereupon, the video was

played.)

Q. Okay. As we watch that part,
we're paused at 11:43:49.

Between 11:43:44 and 11:43:49,
is that you kind of dragging him or holding
him from the shoulder area?

A. That's me holding him and
assisting him up to his feet, yes.

Q. Okay. All right.

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MITCHELL
So I'm going to go ahead and
hit "Play" again.
(Whereupon, the video was

played.)

Q. Okay. So I'm hitting "Pause"
here at 11:43:52.

Do you know who that other

officer was that helped you pick Mr. Vann

up to his feet?

A. I can't pronounce his last
name.
Brodsky?
A. Brodsky, yeah.
Okay.

And before you guys picked him
up to put him on his feet, did you ask him
or instruct him to get up to his feet on
his own?

A. I don't recall. We would --
with him being handcuffed, we would have
assisted him up.

Q. Okay.

At that point, do you think

that he had the physical ability to stand

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MITCHELL

on his own?

MR. CAMPOLIETO: Objection.

A. I don't know. I was pretty
exhausted. I assume he was as well.
Q. Okay.

If you were so exhausted why
didn't you ask one of the other officers
that wasn't as exhausted to physically lift
Mr. Vann off of the ground?

MR. CAMPOLIETO: Objection.

A. I was able to, and safely walk
him over to my car.
Q. Okay.

So that wasn't my question. My
question was just, why didn't you ask one
of the officers who wasn't as tired as you
to help lift him off the ground if you were
so tired?

MR. CAMPOLIETO: Objection.

A. ‘I was able to, if that's -- so
I didn't ask.
Q. Okay. All right.
So I'm going to hit "Play" here

at 11:43:52 and I'm going to pause it when

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MITCHELL
you get over to the car and -- well, before
I play it, do you remember was Mr. Vann
able to walk on his own at this point?

A. No. He's handcuffed, so we're
going to walk him over. I don't -- we
wouldn't let him walk by himself, so I
don't know.

QO. sure.

Was he able to put one foot in
front of the other as you walked with him
over to the car?

A. From what I could tell, yes.

Q. So, I guess, was he able to
walk or did you basically have to carry him
and drag him over to the car?

MR. CAMPOLIETO: Objection.

A. I didn't carry him and drag
him. I walked with him over to the car.
Q. Okay. All right.

So I'm going to go ahead and
hit "Play" at 11:43:52 and I'm going to
pause it once you guys get over to the car.
Okay? . All right. So I'm hitting, "Play."

(Whereupon, the video was

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MITCHELL
played.)

Q. Okay. So at 11:43:57 it looks
like you guys reach the back quarter panel
area of your vehicle; is that right?

A. Yes.

Q. Okay.

And it looks like you had begun
to open the backdoor to, to the car; is
that right?

A. Correct.

Q. And why did you start to open
the backdoor to the car?

A. My original thought was to
place him in the back, but as we've been
trained to do a secondary search, I made
the decision to do a secondary search at
the car.

Q. And why did you make the
decision to do a secondary search at the
car?

A. Because that's how we are
trained in the academy. Is to -- things
can be missed; things can be not found, and

at that point it had been a couple of

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MITCHELL
Minutes and I wanted to make sure that, far
the safety of myself and for him, that
everything was searched appropriately.
Q. Okay.

So you didn't feel like an
appropriate search had been conducted by
the five or six officers on the ground?

MR. CAMPOLIETO: Objection.

A. I felt an appropriate search
had been done, but as trained in -- at the

Police Department a secondary search is, is

appropriate.
Q. Is it necessary?
A. Yes.

MR. CAMPOLIETO: Objection.

A. And appropriate.

Q. Is it required pursuant to
policy?

A. It's how we are trained.

Q. So it's reguired pursuant to

your training?

A. I have been trained in DT and
at the academy that that is -- that you do
a secondary search. That's how I've been

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MITCHELL
trained, yes.
Q. Okay.

A secondary search by raising
the subject's hands above their head?

A. By bringing the subject's hands
away from their waistband, yes.
Q. Okay.

So what I'm going to do is I'm
going to go ahead and hit "Play" and I want
you to tell me, after I pause it, how far
above Mr. Vann's head his hands are. Okay?
Can you do that for me?

MR. CAMPOLIETO: Objection.

A. Okay.
Q. Okay. So I'm going to hit play
here at 11:43:57.
(Whereupon, the video was
played.)
Q. Okay. All right.

So my question is, here paused
at 11:44:07, does it look like Mr. Vann's
hands are extended up above your head?

MR. CAMPOLIETO: I'm sorry.

Above whose head?

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MITCHELL

MR. SHIELDS: So above -- so

let me just take it step-by-step.

Q. So you are the officer who
looks like you have the shaved head who is
standing with Mr. Vann, correct?

A. Correct.

Q. And do you see right in front
of you, Mr. Vann's hands that you're
holding up?

A. I see his hands, yes.

Q. Okay.

And does it look like his hands
are above the level of the back of the top
of the police car?

A. It's hard to tell at that --

QO. Okay.

Does it look like you're
holding --

A. They're at -- they're out --
they're up away from him, yes.

Q. Okay.

And they're up at least
parallel with your face?

A. Yes.

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A.

MITCHELL
And maybe even above your head?
MR. CAMPOLIETO: Objection.

I can't tell. They are

parallel with my face. I know that they

are in

Q.

A.

Q.

front of me.
Okay.
Have you ever done yoga?
No.
Okay.
Do you ever do any stretching?
No.

Have you ever tried to hold

your arms behind your back in an extended

position up above your head in a similar’

way to

behind

what Mr. Vann's hands are being held

his back above his hand in this

position?

A.

head.

MR. CAMPOLIETO: Objection.
His hands aren't above his

He's bent over the car so he's not

standing straight up.

Q.

Okay.

So when someone's arms are

extended behind their back like this, when

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their body is placed over the back of a
car, is that painful?

MR. CAMPOLIETO: Objection.

A. At the time of this, we
monitored -- he never made a complaint of
pain or being uncomfortable.

Q. Okay.

When you are a defensive
tactics trainer, is this a technique that
you practice with your trainees?

A. Having the hands pulled away
from the waistband if the person's bent
over?

QO. Correct.

A. Not, not over his head.

Okay.

So this is not a technique that
you ever taught your trainees in defensive
tactics?

MR. CAMPOLIETO: Objection.

A. We did -- in the DT lab, we
didn't have a car like this, so no.

Q. Okay.

So you never personally

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MITCHELL
experienced what it might feel like to have.
your hands extended behind your back and up
in the air like this?

A. No. Not that I recall.

Q. Do you imagine that it could be
painful?

MR. CAMPOLIETO: Objection.

A. If you're bent over at the
waist and your hands are away from you, I
don't know.

Q. Okay.

Can you do me a favor and get
up and try to do it for us on camera.
MR. CAMPOLIETO: No. We're,
we're, we're not going to do that.
MR. SHIELDS: Okay.

Q. Is that something that you've
ever tried to do yourself, extend your
hands -- enclose your hands behind your
back and extend them up above your head?

A. No.

Q. All right.

Now, is it the policy of the

Rochester Police Department to search

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MITCHELL
individuals for weapons as soon as possible
after they're placed under arrest?

A. If it can be done safely and in
a controlled manner, yes.

Q. Okay.

So I'm just going to play this
through the end of the video. We're paused
at 11:44:07 and I'm just going to play this
through to the end.

(Whereupon, the video was

played.)

Q. All right. I’m going to pause
it, because we're still at half speed. So
I'm just going to speed it up to regular
speed and then I'm going to play it through
to the end. Okay. And we're paused at
11:44:12 and I'm going to hit "Play."

(Whereupon, the video was

played.)

Q. And that's Sergeant LaFave that
we were just seeing; is that right?

A. Yes.

Q. Okay.

And did you see yourself with

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MITCHELL
Mr. Vann over at the car right before I
paused at 11:44:43?

A. I did.

Q. And do you remember the reason
why you pushed him back up against the car
right there?

A. I moved Mr. Vann back up to the
car because he started to move away after
he was told to stay still. I did say that
several times.

Q. Okay.

So let me just rewind that so
we can look at that again together. I'm
just going to hit "Play" and then rewind.
We're at 11:44:39 and I'm going to go ahead
and hit "Play" again.
(Whereupon, the video was
played.)

Q. Okay. So we'lre paused at
11:44:42.

So your testimony is that that
technique that you just used when you
pushing him up against the car was because

he tried to get away again?

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MITCHELL

MR. CAMPOLIETO: Objection.

A. He moved away from the car and
we did not have control of him at that
point in time, so he was placed up against
the car one more time, yes.

Q. Okay.

It was as a result of his
action and moving that you push him up
against the car?

A. I moved him back to the car.

Q. Okay.

I'm going to go ahead and hit
"Play" again at 11:44:42.

(Whereupon, the video was

played.)

Q. And you extended his hands back
up above his head there; is that right?

A. I extended my -- his hands back
away from his waistband but not above his
head, because he's bent over the trunk
area.

Q. Okay.

They're at the same level as

they were before, correct, that we --

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MITCHELL
A. About --
Q. -- spoke about before?
A. About the same spot, yes.
Q. Which would be about parallel

with your, with your face?
A. Give or --
MR. CAMPOLIETO: Objection.
A. Give or take, yes.
Q. How tall are you Officer
Mitchell?
A. 5'7, 5'8.
Q. Okay.
5'8 on a good day?
A. Yeah.

Okay. All right.

Now, did you see another
officer arrive at the scene right before we
paused right here, a female officer?

A. No. I saw the, I think it was
the ambulance technicians.
Q. Okay.

So I'm going to hit "Play"

because I just want to make sure I

understand everyone who is at the scene.

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EXHIBIT F
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SUBJECT. Page 1 of 2
1, LAST NAME FIRST MLL | 2. DATE 3. TIME | 4.CR#
Vann David Cc 9/4/15 2328 15-235240
5. DOB 6. SEX 7. RACE 8. HEIGHT | 9. WEIGHT | 10. INCIDENT LOCATION BEAT
12/18/91 Male Black stor 160 439 South Ave 229
11, ARREST? NO — release approved by:

YES — cha

s: Assault 2", Assault 3", Resisting Arrest, Trespass

12, SUBJECTS ACTIONS

Subject resisted by (check all
that apply and explain in
narrative)

13, TACTIC EFFECTIVENESS

Check the appropriate box indicating whether the tactic was used, if the tactic was used write the number
(1,2,3...) indicating what order the tactics were used in column one (1), In column two (2) write E, for

Effective, MIE, for Moderately Eifective and NE, for Not Effective.

,

Order

&X] Verbal Resistance
(Failing to adhere to
verbal commands)

C1 Passive Resistance
(dead weight)

Dd Active Resistance

or attempt assault)

C) Armed Resistance
(uses or attempts to use a
weapon or dangerous
instrument)

" *(pullitig away, striking ~~ |

ROOOOOoOwRoOoOooOoOoOR

Verbal
Mandibular Angle
Hypoglossal Nerve
Jugular Notch
Clavical Notch
Brachial Stun
Suprascapular Stun
Jab

Front Kick
Straight Punch
Angle Kick

Knee Strike
Defensive Wedge
Hooking Technique
Ground Stabilization
(ie. 3-Point Landing,
joint manipulation)

ix

“Foréaiii Stike~ ~~]

I

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E

ME

NE
ME

Effectiveness
ae

‘ooooooooog

I
?

Order Effectiveness

Forward Spin

Shin Sheer

Arm Lock

Front Jab w/Baton

Rear Jab w/ Baton

Flat Chop

Upper Chop

Forward Spin

Reverse Spin

Inside Spin
_Power Spin

OODOOOe

oc

Taser
Bean Bag
Hand Gun
Long Gun
Other:
Other:

14, Narrative (If officer is in plainclothes, describe own clothing. If tactic(s) used on subject were ineffective, explain reason(s) why.)

See Addendum

Officer:

[-] Primary Officer Assisting Officer Name: Steven Mitchell

ID# 2134

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DNN 19949

Me. ArIANIE
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ADDENDUM REPORT

ROCHESTER POLICE DEPARTMENT

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2, CRE
4., ACONTINUATION OF A (N) aia cash ek i 15 a 235240
3, VICTIM'S NAME (LAST, FIRST, MIDOLE) OR FIRM NAME IF BUSINESS . OFFENSEANCIDENT ADDRESS , PSA J8.00W DATE OF INCIDENT
Algazali, Dawan 439 South Ave 229 |Fri, 09,04 , 15
pBLooK 7; INDICATE BLOCK LETTER OR NUMBER IN LEFT MARGIN
14

At the above date and time, | responded to 439 South Ave. (A and Z Market) for the report of a male refusing to
leave. Upon arrival, (S) (Vann) was uncooperative and refused to leave the location. (S) walked to the side walk
and began to ball his fist as he turned towards officers and begen'k to argue once more. | then moved in to handcuff
(S) ;

| was able to get the left hand cuff on (S)'s left hand and then (S) began to pull his right hand towards the front of
his body to avoid being handcuffed completely. Ofc. Kester had control of (S)'s right arm when | was applying
handcuffs and when (S) pulled his hand away, Ofc. Kester brought (S) to the ground (See Ofc. Kester’s SRR). The
force of (S) and Ofc. Kester going to the ground brought me to the ground. (S) fell onto Ofc. Kester and Ofc. Kester
immediately yelled out that his leg was hurt. | could see that Ofc. Kester was in extreme pain and that he could not
stand up. At this time, (S) did have handcuffs applied to both of his hands, but (S) was still not listening to
commands to stop moving around on the ground in order to be searched. (S) did reach several times towards his
right rear pants waist band area and was told several times to stop reaching. Ofc. Kester asked for space from (S),
as he was in pain and (S) was laying right next to Ofc. Kester. | stood (S) to his feet and walked (S) over to the side
of my patrol vehicle to complete my search of (S).

As | brought (S) to my patrol vehicle, (S) immediately pulled away from me. | attempted a hooking technique to
bring (S) to the ground, however the technique was not effective, as (S) was moving away from me. (S) then
tumed towards me and | told (S) several times to “get on the ground”. (S) refused the commands. | then used a jab
with my right closed fist to the chin area of (S), which was moderately effective as (S) was moving when the

‘| technique used. It should be noted ‘that (S) still had not been searched, especially in tha area of the waist band

where (S) hand been reaching. | then used an arm bar take down on (S)'s left arm and brought (S) to the ground.
(S) was laying on his back and | told (S) several times to roll onto his stomach. (S) refused to listen to the
commands given. | then was able to roll (S) onto his stomach and administered four 14 second bursts of O.C.

| Spray to the face of (S), as (S) moved his head as the O.C. Spray was being administered. After being sprayed

with O.C, (S) once again reached for his waistband on the right rear side of his pants. | attempted to grab (S)'s
hands, still fearing that (S) had a weapon in his waistband. While trying to stop (S) from grabbing his waistband .
area, (S) rolled onto his back once again. | then used ground stabilization, placing my right arm across (S)’s chest
and held him to the ground so that he could not reach for his waistband anymore. | waited in that position until
additional officers arrived and | yelled to officers coming to assist me that. | told Officers that (S) was reaching for
his waistband. (S) was searched on the ground and then again while he was standing up at the rear of my patrol
vehicle. While (S) was being searched standing up, (S) would not stand still and was moving around. (S)'s actions
forced me to have to keep (S)'s hands above his waistband in order to keep control of (S) and allow for a proper
search. (S) was placed into the rear of a patrol vehicle after the secondary search was concluded. The search of
(S) was negative for weapons and it is unknown why (S) continually reached for his waistband while resisting
arrest.

Photos of (S) and injured officers were taken by Tech 270 (Farbizio) at the scene. Rural Metro responded to the
scene to evaluate (S). Rural Metro staff flushed (S)'s eyes due to 0.C. exposure. Rural Metro staff cleared (S) and
| transported (S) to booking without further incident.

10, XC TO,

8. REPORTING OFFICER 1Ow @ SUPERVISOR ID#

S. Mitchell 2134

